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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

LINFO IP, LLC,
     Plaintiff,                                        Civil Action No. 3:24-cv-00199

v.

CARPARTS.COM, INC.,                                    JURY TRIAL DEMANDED
    Defendant


                             PLAINTIFF’S ORIGINAL COMPLAINT

           Plaintiff Linfo IP, LLC (“Linfo”) files this Original Complaint and demand for jury trial

seeking relief from patent infringement of the claims of U.S. Patent No. 9,092,428 (“the ’428

patent”) (referred to as the “Patent-in-Suit”) by CarParts.com, Inc. (“Defendant” or “CarParts”).

     I.       THE PARTIES

     1. Plaintiff Linfo IP, LLC is a Texas limited liability corporation with its principal place of

business located in Austin, Texas.

     2. On information and belief, Defendant is a corporation organized and existing under the

laws of the State of DE, with a regular and established place of business located at 1301 Avenue

T, Grand Prairie, TX 75050 and a principal office at 2050 W. 190th Street, Suite

400, Torrance, CA 90504. On information and belief, Defendant sells and offers to sell products

and services throughout Texas, including in this judicial district, and introduces products and

services that perform infringing methods or processes into the stream of commerce knowing that

they would be sold in Texas and this judicial district. Defendant can be served with process through

their registered agent, Corporation Service Company, 251 Little Falls Drive, Wilmington,

Delaware, 19808, at its place of business, or anywhere else it may be found.

     II.      JURISDICTION AND VENUE

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    3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

    4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Texas and this judicial district; (ii) Defendant

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s business

contacts and other activities in the State of Texas and in this judicial district.

    5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and has a regular and established place of business in this District.

Further, venue is proper because Defendant conducts substantial business in this forum, directly

or through intermediaries, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct and/or

deriving substantial revenue from goods and services provided to individuals in Texas and this

District.

    III.    INFRINGEMENT

    A. Infringement of the ’428 Patent

    6. On July 28, 2015, U.S. Patent No. 9,092,428 (“the ’428 patent”, included as Exhibit A and

part of this complaint) entitled “System, methods and user interface for discovering and presenting

information in text content” was duly and legally issued by the U.S. Patent and Trademark Office.

Plaintiff owns the ’428 patent by assignment.




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       7. The ’428 patent relates to system and methods for discovering information in a text content,

and provides users with interface objects to act on the discovered information, such as extracting,

displaying or hiding, or highlighting or un-highlighting words or phrases in a text content.

       8. Defendant maintains, operates, and administers a system with methods and user interface

for discovering information in a text content and extracting and presenting the information that

infringes one or more of claims of the ’428 patent, including one or more of claims 1-20, literally

or under the doctrine of equivalents. Defendant puts the inventions claimed by the ’428 Patent into

service (i.e., used them); but for Defendant’s actions, the claimed-inventions embodiments

involving Defendant’s products and services would never have been put into service. Defendant’s

acts complained of herein caused those claimed-invention embodiments as a whole to perform,

and Defendant’s procurement of monetary and commercial benefit from it.

       9. Support for the allegations of infringement may be found in the preliminary exemplary

table attached as Exhibit B. These allegations of infringement are preliminary and are therefore

subject to change.

       10. Defendant has and continues to induce infringement. Defendant has actively encouraged

or instructed others (e.g., its customers and/or the customers of its related companies), and

continues to do so, on how to use its products and services (e.g., discovering information in a text

content and extracting and presenting the information) such as to cause infringement of one or

more of claims 1-20 of the ’428 patent, literally or under the doctrine of equivalents. Moreover,

Defendant has known of the ’428 patent and the technology underlying it from at least the filing

date of the lawsuit.1 For clarity, direct infringement is previously alleged in this complaint.




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    Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.

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       11. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

or instructed others (e.g., its customers and/or the customers of its related companies), and

continues to do so, on how to use its products and services (e.g., discovering information in a text

content and extracting and presenting the information) and related services such as to cause

infringement of one or more of claims 1-20 of the ’428 patent, literally or under the doctrine of

equivalents. Moreover, Defendant has known of the ’428 patent and the technology underlying it

from at least the filing date of the lawsuit.2 For clarity, direct infringement is previously alleged in

this complaint.

       12. Defendant has caused and will continue to cause Plaintiff damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ’428 patent.

       IV. CONDITIONS PRECEDENT

            13.      Plaintiff is a non-practicing entity, with no products to mark. Plaintiff has pled all

statutory requirements to obtain pre-suit damages. Further, all conditions precedent to recovery

are met.

       V.         JURY DEMAND

             Plaintiff hereby requests a trial by jury on issues so triable by right.

       VI.        PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief as follows:

     a.      enter judgment that Defendant has infringed the claims of the ’428 patent;

    b.       award Plaintiff damages in an amount sufficient to compensate it for Defendant’s

             infringement of the Patent-in-suit in an amount no less than a reasonable royalty or lost




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      profits, together with pre-judgment and post-judgment interest and costs under 35 U.S.C.

      § 284;

c.    award Plaintiff an accounting for acts of infringement not presented at trial and an award

      by the Court of additional damage for any such acts of infringement;

d.    declare this case to be “exceptional” under 35 U.S.C. § 285 and award Plaintiff its

      attorneys’ fees, expenses, and costs incurred in this action;

e.    declare Defendant’s infringement to be willful and treble the damages, including attorneys’

      fees, expenses, and costs incurred in this action and an increase in the damage award

      pursuant to 35 U.S.C. § 284;

f.    a decree addressing future infringement that either (if) awards a permanent injunction

      enjoining Defendant and its agents, servants, employees, affiliates, divisions, and

      subsidiaries, and those in association with Defendant from infringing the claims of the

      Patent-in-suit, or (ii) awards damages for future infringement in lieu of an injunction in an

      amount consistent with the fact that for future infringement the Defendant will be an

      adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

      future infringement will be willful as a matter of law; and

g.    award Plaintiff such other and further relief as this Court deems just and proper.



                                             Respectfully submitted,

                                             Ramey LLP

                                             /s/ William P. Ramey, III
                                             William P. Ramey, III (pro hac anticipated)
                                             Texas Bar No. 24027643
                                             wramey@rameyfirm.com

                                             5020 Montrose Blvd., Suite 800
                                             Houston, Texas 77006

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                               (713) 426-3923 (telephone)
                               (832) 900-4941 (fax)

                               Attorneys for LINFO IP, LLC




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